                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 23-cr-1020-CJW
 vs.                                                    ORDER SCHEDULING
                                                          PLEA HEARING
 MATTHEW DAVID KEIRANS,
                 Defendant.
                                  ____________________

        Pursuant to Defendant’s filing of notice of intent to plead guilty at Doc. 22 a guilty
plea hearing is hereby scheduled before the undersigned for Monday, April 1, 2024 at
10:00 a.m.; United States Courthouse, Courtroom 3, 111 7th Avenue SE, Cedar Rapids,
Iowa.
        The parties are reminded to fully comply with Judge Roberts’s Standing Order
regarding guilty pleas issued January 4, 2021, a copy of which is attached to this Order.
If any party objects to the entry of a guilty plea before a United States Magistrate Judge,
the party is directed to notify the court immediately of the objection.
        Defendant’s counsel shall file (as soon as possible and prior to the date of the plea
hearing) the “Notice Regarding Entry of a Plea of Guilty and Consent To Proceed Before
                       1
a Magistrate Judge.”

        The time from the date of this Order to the date of the plea hearing is excluded
from the time within which trial must commence under the Speedy Trial Act, 18 U.S.C.
§ 3161(h)(1). See United States v. Mallett, 751 F.3d 907 (8th Cir. 2014) (holding that




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        This form can be found on the Court’s web page at www.iand.uscourts.gov, Attorney
Info, Forms (Criminal), Consent to Plead Guilty.


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“a party’s submission—whether express or implied, formal or informal—. . . to set a
change of plea hearing” suspends the speedy trial clock) (internal quotations and citations
omitted).
       The trial scheduled for April 15, 2024, is cancelled.
       IT IS SO ORDERED this 25th day of March, 2024.




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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA

IN THE MATTER OF

GUILTY PLEAS BEFORE                      STANDING ORDER
UNITED STATES MAGISTRATE                (Issued January 4, 2021)
JUDGE MARK A. ROBERTS
                      ____________________

      IT IS ORDERED that the following procedures shall apply to guilty plea
proceedings before United States Magistrate Judge Mark A. Roberts:

     1.    The Court will not schedule a change of plea hearing before Magistrate
           Judge Roberts unless the party seeking to schedule the hearing represents
           that (a) the defendant has consented to having a magistrate judge preside
           over the hearing, and (b) any plea agreement between the parties has been
           finalized and will be fully executed by both the defendant and the
           Government prior to the plea hearing.

     2.    A lawyer representing a defendant at a guilty plea proceeding will not be
           permitted to use the time scheduled for the plea hearing to prepare the
           defendant for the taking of the guilty plea. The preparations for a guilty
           plea hearing are to be completed as soon as practicable, but not later than
           the day before the plea hearing. This requirement applies in all cases,
           including cases involving interpreters.

     3.    Detention status pending sentencing: No later than three business days
           prior to the plea hearing, a party should notify chambers and opposing
           counsel if the party intends to seek a change in the defendant’s detention
           status or to present evidence on the issue of detention pending sentencing.
           The party should provide an estimate of the number of anticipated witnesses
           and the length of time needed to present evidence. The Court may schedule
           a separate detention hearing.

     4.    Consent to proceed before magistrate judge: By 12:00 p.m. on the last
           business day prior to the plea hearing, the defendant should file with the
           court a written consent to proceed before a magistrate judge. This form
           can be located on the Northern District of Iowa web page:
           www.iand.uscourts.gov, Attorney Info, Forms.

     5.    Copy of plea agreement: By 12:00 p.m. on the last business day prior to
           the plea hearing, the Government should provide the Court and opposing
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      counsel, by email (to ecfmail@iand.uscourts.gov and to Judge Roberts’s
      Judicial Assistant), a copy of the written plea agreement (where there is
      one). The plea agreement will be addressed at the plea hearing regarding
      whether it will be filed as an exhibit and/or whether it will be sealed.

6.    Rule 11 letter: By 12:00 p.m. on the last business day prior to the plea
      hearing, the Government should provide the Court and opposing counsel,
      by email (to ecfmail@iand.uscourts.gov and to Judge Roberts’s Judicial
      Assistant), the Rule 11 letter (LCrR 11(b)). The Rule 11 letter should:

            a. Reference the source upon which the Government is relying to
               establish the elements of the offense. When possible, the
               government should rely on the Eighth Circuit Pattern Criminal
               Jury Instructions.

            b. Identify all collateral consequences resulting from a guilty plea,
               including whether the defendant: (a) is waiving appeal rights; (b)
               may be subject to deportation or other immigration
               consequences; (c) may have to pay restitution; (d) may have to
               register as a sex offender; and (e) will be forfeiting property.

            c. Set forth the factual nexus between the crime(s) of conviction and
               the property the government seeks to forfeit (if the government
               is seeking forfeiture of property as a result of the guilty plea).

            d. Inform the court whether any victims of the offense(s) wish to
               address the court at the hearing.

            e. Address whether any exceptional circumstances may exist for the
               Court to determine the issue of detention pending sentencing.

      The Rule 11 letter does not need to include the statutory language of the
      offense(s) of conviction.

IT IS SO ORDERED this 4th day of January, 2021.




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